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     FILED & JUDGMENT ENTERED
            Steven T. Salata


                 May 4 2021


          Clerk, U.S. Bankruptcy Court
         Western District of North Carolina
                                                                             _____________________________
                                                                                       Laura T. Beyer
                                                                               United States Bankruptcy Judge




                            IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                        (Statesville Division)

In re:                                                       )         Chapter 11
                                                             )
CUSTOM DESIGN GROUP, LLC,                                    )         Case No. 20-50463
                                                             )
                               Debtor.                       )

                  ORDER APPROVING INTERIM AND FINAL APPLICATION OF
                   MOON WRIGHT & HOUSTON, PLLC FOR ALLOWANCE OF
                    COMPENSATION AND REIMBURSEMENT OF EXPENSES

            Upon consideration of the Interim and Final Application of Moon Wright & Houston,

PLLC for Allowance of Compensation and Reimbursement of Expenses and Request for Related

Relief (the “Final Application”) [Doc. 74], it appears that Moon Wright & Houston, PLLC

(“MWH”) requested interim approval of compensation for services rendered and reimbursement

of expenses incurred for the period March 1, 2021 through March 31, 2021 in the amount of

$13,977.04 and final approval of all fees and expenses incurred by MWH in the total amount of

$59,159.68 for the period December 11, 2020 through March 31, 2021 pursuant to Sections 330

and 331 under Title 11 of the United States Code, 11 U.S.C. § 101 et seq. and Rule 2016 of the

Federal Rules of Bankruptcy Procedure; and due and adequate notice of the Final Application

having been provided; and no objections having been filed; and it appearing that the relief

requested in the Final Application is in the best interests of the Debtor and the bankruptcy estate;



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and it appearing that the fees requested and the expenses incurred are reasonable and necessary;

and after due deliberation and sufficient cause appearing therefore; it is hereby

         ORDERED that the Final Application is GRANTED; and it is further

         ORDERED that MWH is allowed interim compensation for services rendered and

reimbursement of expenses incurred in the amount of $13,977.04 for the period March 1, 2021

through March 31, 2021; and it is further

         ORDERED that MWH is allowed final approval of compensation for services rendered

and reimbursement of expenses incurred for the period December 11, 2020 through March 31,

2021 in the total amount of $59,159.68; and it is further

         ORDERED that the Debtor is hereby authorized and directed to pay such amounts to

MWH, less all previous payments made pursuant to Orders entered by this Court in this case;

and it is further

         ORDERED that MWH is granted an allowed priority claim under § 503(b)(2) for such

amount; and it is further

         ORDERED, that this Court shall retain jurisdiction over any and all issues arising from or

related to the implementation, enforcement, and interpretation of this Order.




This Order has been signed electronically.                                    United States Bankruptcy Court
The Judge's signature and Court's seal
appear at the top of this Order.




MWH: 10734.001; 00025139.1
